 Fill in this information to identify your case:

 Debtor 1           Anthony Scott Levandowski
                   __________________________________________________________________
                     First Name                  Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of California District of __________
                                                                                        (State)
 Case number         ___________________________________________
                       20-30242
  (If known)
                                                                                                                                                Check if this is an
                                                                                                                                                  amended filing


Official Form 104
For I ndividua l Cha pt e r 1 1 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
U nse c ure d Cla im s Aga inst Y ou a nd Are N ot I nside rs                              12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person in
control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a sole
proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 20 largest unsecured claims.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.


 Pa rt 1 :      List t he 2 0 U nse cure d Claim s in Orde r from La rge st t o Sm alle st . Do N ot I nc lude Cla im s by I nside rs.


                                                                                                                                         Unsecured claim

 1                                                             What is the nature of the claim? ____________________________
                                                                                                Judgment Liens                           179,047,999.00
                                                                                                                                        $____________________________
      Google LLC
      __________________________________________
      Creditor’s Name                                          As of the date you file, the claim is: Check all that apply.
      Keker, Van Nest & Peters LLP
      __________________________________________
                                                               
                                                               ✔   Contingent
      Number            Street                                    Unliquidated
      633 Battery Street
      __________________________________________
                                                               
                                                               ✔   Disputed
                                                                  None of the above apply
      San Francisco            CA     94111-1809
      __________________________________________
      City                               State     ZIP Code
                                                               Does the creditor have a lien on your property?
      Robert A. Van Nest, Esq.
      __________________________________________
                                                               
                                                               ✔   No
      Contact                                                     Yes. Total claim (secured and unsecured):   $_____________________

      ____________________________________
                                                                        Value of security:                 -   $_____________________
      Contact phone
                                                                        Unsecured claim                        $_____________________



 2                                                             What is the nature of the claim? Legal
                                                                                                ____________________________
                                                                                                                                          3,000,000.00
                                                                                                                                        $____________________________
      Ramsey & Ehrlich LLP
      __________________________________________
      Creditor’s Name                                          As of the date you file, the claim is: Check all that apply.
      __________________________________________                  Contingent
      Number            Street                                 
                                                               ✔   Unliquidated
      803 Hearst Avenue
      __________________________________________               
                                                               ✔   Disputed
                                                                  None of the above apply
      Berkeley                 CA 94710
      __________________________________________
      City                               State     ZIP Code
                                                               Does the creditor have a lien on your property?
      Miles Ehrlich, Esq.                                      
                                                               ✔   No
      __________________________________________
      Contact                                                     Yes. Total claim (secured and unsecured):   $_____________________

      ____________________________________
                                                                        Value of security:                 -   $_____________________
      Contact phone
                                                                        Unsecured claim                        $_____________________




            Case:           20-30242       Doc#    3 11Filed:  03/04/20                                                        28
Official Form 104               For Individual Chapter  Cases: List of CreditorsEntered:  03/04/20
                                                                                Who Have the 20 Largest16:37:28      Page 1 of 6
                                                                                                       Unsecured Claims                                    page 1
Debtor 1          Anthony Scott Levandowski
                 _______________________________________________________                                                           20-30242
                                                                                                            Case number (if known)_____________________________________
                 First Name      Middle Name         Last Name


                                                                                                                                              Unsecured claim

 3 __________________________________________
   Internal Revenue Service                                      What is the nature of the claim? Income  Taxes
                                                                                                  ____________________________             225,000.00
                                                                                                                                          $____________________________
     Creditor’s Name

     P.O. Box 7346
     __________________________________________                  As of the date you file, the claim is: Check all that apply.
     Number            Street                                       Contingent
     __________________________________________ 
                                                ✔                    Unliquidated
                                                
                                                ✔                    Disputed
     Philadelphia             PA    19101-7346
     __________________________________________                     None of the above apply
     City                               State   ZIP Code
                                                                 Does the creditor have a lien on your property?

     __________________________________________
                                                                 
                                                                 ✔   No
     Contact                                                        Yes. Total claim (secured and unsecured):   $_____________________

     ____________________________________
                                                                          Value of security:                 -   $_____________________
     Contact phone                                                        Unsecured claim                        $_____________________

 4 Franchise  Tax Board
   __________________________________________                                                     Income Taxes
                                                                 What is the nature of the claim? ____________________________             75,000.00
                                                                                                                                          $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     Personal  Bankruptcy MS A340
     __________________________________________                     Contingent
     Number            Street
                                                
                                                ✔                    Unliquidated
     PO  Box 2952
     __________________________________________ 
                                                ✔                    Disputed

     Sacramento              CA     95812-2952                      None of the above apply
     __________________________________________
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                 
                                                                 ✔   No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                 -   $_____________________
     ____________________________________                                 Unsecured claim                        $_____________________
     Contact phone


 5 __________________________________________
   Finemann PR                                                                                    Personal Services
                                                                 What is the nature of the claim? ____________________________             34,000.00
                                                                                                                                          $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street
                                                                    Contingent

     530 Bush Street #403
                                                                 
                                                                 ✔   Unliquidated
     __________________________________________
                                                                 
                                                                 ✔   Disputed
     San  Francisco           CA 94108                              None of the above apply
     __________________________________________
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                 
                                                                 ✔   No
     Michael Finemann
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

 6 __________________________________________
   Protector Boats Service Center                                What is the nature of the claim? ____________________________
                                                                                                  Personal Services                       $____________________________
                                                                                                                                           19,502.00
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     790 National Court
     Number            Street                                       Contingent
                                                                 
                                                                 ✔   Unliquidated
     __________________________________________
                                                                 
                                                                 ✔   Disputed

     Richmond                 CA 94804
     __________________________________________
                                                                    None of the above apply
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                 
                                                                 ✔   No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

 7 Chase                                                         What is the nature of the claim? Credit
                                                                                                  ____________________________
                                                                                                         Card Debt                         3,900.00
                                                                                                                                          $____________________________
   __________________________________________
     Creditor’s Name                                             As of the date you file, the claim is: Check all that apply.
     P.O. Box 15298
     __________________________________________                     Contingent
     Number            Street
                                                                    Unliquidated
     __________________________________________                     Disputed
                                                                 
                                                                 ✔   None of the above apply
     Wilmington               DE 19850-5298
     __________________________________________
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                 
                                                                 ✔   No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                 -   $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

            Case:          20-30242      Doc#    3 Filed:     03/04/20         Entered:                                         29
Official Form 104               For Individual Chapter 11 Cases: List of Creditors Who Have03/04/20    16:37:28
                                                                                            the 20 Largest            Page 2 of 6
                                                                                                           Unsecured Claims                                       page 2
Debtor 1          Anthony Scott Levandowski
                 _______________________________________________________                                                           20-30242
                                                                                                            Case number (if known)_____________________________________
                 First Name      Middle Name         Last Name


                                                                                                                                             Unsecured claim

 8 __________________________________________
   Stefanie Olsen                                                What is the nature of the claim? Domestic Support Obligations
                                                                                                  ____________________________             3,900.00
                                                                                                                                          $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Redacted
     Number            Street                                       Contingent
                                                                 
                                                                 ✔   Unliquidated
     __________________________________________
                                                                    Disputed

     __________________________________________
                                                                    None of the above apply
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                 
                                                                 ✔   No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

 9 __________________________________________
   Wells Fargo                                                                                    Credit Card Debt
                                                                 What is the nature of the claim? ____________________________             1,588.00
                                                                                                                                          $____________________________
   Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     PO Box 10347
     Number            Street                                       Contingent
                                                                    Unliquidated
     __________________________________________
                                                                    Disputed

                               IA 50306-0347 
                                                ✔                    None of the above apply
     Des  Moines
     __________________________________________
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                 
                                                                 ✔   No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

10 __________________________________________
   Apple Pay                                                     What is the nature of the claim? Credit Card Debt
                                                                                                  ____________________________             551.00
                                                                                                                                          $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     Lockbox 6112 PO Box 7247
     __________________________________________                     Contingent
     Number            Street
                                                                    Unliquidated
     __________________________________________                     Disputed

                             PA 19170-6112 
                                                ✔                    None of the above apply
     Philadelphia
     __________________________________________
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                 
                                                                 ✔   No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                 -   $_____________________
     ____________________________________                                 Unsecured claim                        $_____________________
     Contact phone


11 __________________________________________
   Goodwin Procter LLP                                           What is the nature of the claim? Legal
                                                                                                  ____________________________             1.00
                                                                                                                                          $____________________________
   Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                       Contingent

     __________________________________________
                                                                 
                                                                 ✔   Unliquidated
     601 Marshall Street
                                                                    Disputed
                              CA 94063
     __________________________________________
     Redwood   City                                                 None of the above apply
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                 
                                                                 ✔   No
     __________________________________________
     Neel Chatterjee, Esq.                                          Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

12                                                               What is the nature of the claim? Employment
                                                                                                  ____________________________
                                                                                                             Dispute                      $____________________________
                                                                                                                                           1.00
     Uber Technologies, Inc.
     __________________________________________
     Creditor’s Name                                             As of the date you file, the claim is: Check all that apply.
     Boies Schiller Flexner LLP
     __________________________________________
                                                                    Contingent
     Number            Street                                    
                                                                 ✔   Unliquidated
     1401 New York Ave, NW
     __________________________________________                  
                                                                 ✔   Disputed
                                                                    None of the above apply
     Washington                DC 20005
     __________________________________________                  Does the creditor have a lien on your property?
     City                               State
                                               ZIP Code
                                               ✔ No
                                               
      Hamish Hume, Esq. and Jessica Phillips, Esq.Yes. Total claim (secured and unsecured):                      $_____________________
     __________________________________________
     Contact
                                                                          Value of security:                 -   $_____________________
                                                                          Unsecured claim                        $_____________________
     ____________________________________
     Contact phone



            Case:          20-30242      Doc#    3 Filed:     03/04/20         Entered:                                         30
Official Form 104               For Individual Chapter 11 Cases: List of Creditors Who Have03/04/20    16:37:28
                                                                                            the 20 Largest            Page 3 of 6
                                                                                                           Unsecured Claims                                       page 3
Debtor 1          Anthony Scott Levandowski
                 _______________________________________________________                                                           20-30242
                                                                                                            Case number (if known)_____________________________________
                 First Name      Middle Name         Last Name


                                                                                                                                           Unsecured claim

13   __________________________________________                  What is the nature of the claim? ____________________________            $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                       Contingent
                                                                    Unliquidated
     __________________________________________
                                                                    Disputed

     __________________________________________
                                                                    None of the above apply
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

14   __________________________________________                  What is the nature of the claim? ____________________________            $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                       Contingent
                                                                    Unliquidated
     __________________________________________
                                                                    Disputed

     __________________________________________
                                                                    None of the above apply
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

15   __________________________________________                  What is the nature of the claim? ____________________________            $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street
                                                                    Contingent
                                                                    Unliquidated
     __________________________________________                     Disputed
                                                                    None of the above apply
     __________________________________________
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                 -   $_____________________
     ____________________________________                                 Unsecured claim                        $_____________________
     Contact phone


16   __________________________________________                  What is the nature of the claim? ____________________________            $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                       Contingent
                                                                    Unliquidated
     __________________________________________
                                                                    Disputed

     __________________________________________
                                                                    None of the above apply
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

17                                                               What is the nature of the claim? ____________________________            $____________________________
     __________________________________________
     Creditor’s Name                                             As of the date you file, the claim is: Check all that apply.
     __________________________________________                     Contingent
     Number            Street
                                                                    Unliquidated
     __________________________________________                     Disputed
                                                                    None of the above apply
     __________________________________________                  Does the creditor have a lien on your property?
     City                               State   ZIP Code
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                 -   $_____________________
     ____________________________________                                 Unsecured claim                        $_____________________
     Contact phone



            Case:          20-30242      Doc#    3 Filed:     03/04/20         Entered:                                         31
Official Form 104               For Individual Chapter 11 Cases: List of Creditors Who Have03/04/20    16:37:28
                                                                                            the 20 Largest            Page 4 of 6
                                                                                                           Unsecured Claims                                       page 4
Debtor 1          Anthony Scott Levandowski
                 _______________________________________________________                                                           20-30242
                                                                                                            Case number (if known)_____________________________________
                 First Name      Middle Name         Last Name


                                                                                                                                          Unsecured claim

18                                                               What is the nature of the claim? ____________________________
                                                                                                                                          $____________________________
     __________________________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________                     Contingent
     Number            Street
                                                                    Unliquidated
     __________________________________________                     Disputed
                                                                    None of the above apply
     __________________________________________
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                 -   $_____________________
     ____________________________________
     Contact phone
                                                                          Unsecured claim                        $_____________________



                                                                 What is the nature of the claim? ____________________________
19
     __________________________________________                                                                                           $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                       Contingent
                                                                    Unliquidated
     __________________________________________
                                                                    Disputed

     __________________________________________
                                                                    None of the above apply
     City                               State   ZIP Code
                                                                 Does the creditor have a lien on your property?

     __________________________________________
                                                                    No
     Contact                                                        Yes. Total claim (secured and unsecured):   $_____________________

     ____________________________________
                                                                          Value of security:                 -   $_____________________
     Contact phone                                                        Unsecured claim                        $_____________________



                                                                 What is the nature of the claim? ____________________________
20
                                                                                                                                          $____________________________

                                                                 As of the date you file, the claim is: Check all that apply.

     __________________________________________
                                                                    Contingent
     Creditor’s Name                                                Unliquidated

     __________________________________________
                                                                    Disputed
     Number            Street                                       None of the above apply
     __________________________________________
                                                                 Does the creditor have a lien on your property?
     __________________________________________                     No
     City                               State   ZIP Code
                                                                    Yes. Total claim (secured and unsecured):   $_____________________

     __________________________________________
                                                                          Value of security:                 -   $_____________________
     Contact                                                              Unsecured claim                        $_____________________

     ____________________________________
     Contact phone




            Case:          20-30242      Doc#    3 Filed:     03/04/20         Entered:                                         32
Official Form 104               For Individual Chapter 11 Cases: List of Creditors Who Have03/04/20    16:37:28
                                                                                            the 20 Largest            Page 5 of 6
                                                                                                           Unsecured Claims                                       page 5
Debtor 1           Anthony Scott Levandowski
                   _______________________________________________________                                             20-30242
                                                                                                 Case number (if known)_____________________________________
                   First Name          Middle Name   Last Name




Pa rt 2 :     Sign Be low




  Under penalty of perjury, I declare that the information provided in this form is true and correct.



 /s/ Anthony Scott Levandowski
    ______________________________________________               ______________________________________________
    Signature of Debtor 1                                         Signature of Debtor 2

          03/04/2020
    Date _________________                                           Date
            MM /    DD    /     YYYY                                        MM /   DD /   YYYY




            Case:
Official Form 104               20-30242      Doc#
                                     For Individual   3 Filed:
                                                    Chapter        03/04/20
                                                            11 Cases:               Entered:
                                                                      List of Creditors Who Have03/04/20    16:37:28
                                                                                                 the 20 Largest            Page 6 of 6
                                                                                                                Unsecured Claims                        page 6
